DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

.~ IN RE CALIFORNIA FLOWERLAND, ET AL. SECURITIES LITIGATION

 

 

Pleading Description

81/08/28 1 > MOTION, AFFIDAVIT, BRIEF, SCHEDULE, EXHIBIT A and CERT. OF
SERVICE -- Defendant Meyer Heller

SUGGESTED TRANSFEREE COURT: D. District of Columbia

| SUGGESTED TRANSFEREE JUDGE: (cds)
f

 

' AMENDMENT TO HEARING ORDER AND ATTACHED SCHEDULE FILED ON
AUGUST 26, 1981 -- Setting motion of defendant Meyer
Heller for transfer of action to D.District of Columbia
for Panel hearing in Concord, New Hampshire on Sept. 24,
: 1981 -- NOT. INV. JUDGES, CLERKS & COUNSEL (cds)
81/09/08 | APPEARANCES: RICHARD A, KIRBY, ESQ. for S.E.C.; -GEORGE -DONALDSON,
ESQ.--foxr Robert.-c.- thdson,--et--ale; IRVING BIZAR, ESQ. for Meyer

Heller; BARBARA KACIR, ESQ. for Robert A. Baker, Special Agent
for California Flowerland, Ltd., et al.; JERRY K. CIMMET, ESQ.
for Wallace Vickery; PHILIP R. ROTNER, ESQ. for Deloitte Haskins,
& Sells; DALE E. FREDERICKS, ESQ. for May, Zima & Co. (cds)

PAUL H. DAWES for Bronson, Bronson & McKinnon, Thomas B. Swartz,

& Thomas Byrne Swartz, Inc.; ALVIN M. STEIN for Alexander Grant

& CO.; ERNEST J. GETTO for Advest, Inc. (pdh)
| SHERWIN J. MARKMAN for Robert M. Adler; LAWRENCE W. KEESHAN

for Price Waterhouse & Co. (pdh)

81/0/9/08 APPEARANCE -- Michael Nussbaum, Esq. for Lawrence Schwartz. (eaf)

81/09/19 2 REQUEST FOR EXTENSION OF TIME AND REQUEST TO VACATE HEARING
ORDER -- Deft. May, Zima & Co. -- Extension GRANTED to

and including 10/2/81 to ALL PARTIES 4M#xXHEHKXKHXRXKERK

i XXSKEER . (emh )

81/09/19 3 REQUEST FOR EXTENSION OF TIME and REQUEST TO VACATE HEARING
. ORDER —-- Defts. Bronson, Bronson & McKinnon, Thomas B.

Swartz and Thomas Byrne Swartz, Inc. -- EXTENSION GRANTED

TO ALL PARTIES +e—6 eric tuctitre stator ARK KRERTIE RG coe es

HRAKKRBXOKARKX (emh) °°” A

a“

i

81/09/10. ORDER VACATING HEARING ORDER filed on August 26, 1981 and
amended on Sept. 4, 1981. (emh)

81/09/18 4 RESPONSE -- Robert M. Adler -- w/cert. of svc. (emh)
81/09/18 5 -=>; MOTION, BRIEF, CERT. OF SVC. AND EXHIBITS -- Deft.
Robert M. Adler
SUGGESTED TRANSFEREE DISTRICT: D. District of Columbia
SUGGESTED TRANSFEREE JUDGE: (emh )

SN

 

 
DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET No. 483 ~-

 

 

 

Pleadine Description

 

81/09/30:6 RESPONSE -- (to pldg. No. 5) defendants John Adams, Simon
Adler, Alfred Avery, Dene Orndorf Collins, Shirley Denes,
C. William Ford, Mary Fritze, Joseph Bradford Giordano,
George Hochschwender, John Schweiger, Emery Sims, Dan
Ward and George Wood w/cert. of svc. (ds)

10/1/81 APPEARANCES -- (Change - Scott A. Fink, Esq. for Price
Waterhouse & Co. - Not Lawrence W. Keeshan, Esq. as logged
9/8/81); Howard M. Garfield, Esq. for Cherry, Bakaert, &
Holland; George Donaldson, Esq. for Robert C. ##é$# Hudson, etal;
James M. Gansinger, Esq. farst Affiliated Securities, Inc., #iHRY
Birr, Wilson & Co. and Independent Financial Planners, Inc.;
Theodore Russell, Esq. for Jonathan Tobey and Robert W. Long;
Nelson C. Barry, Esq. for Brause, Lowenstein & Hirsch;
Theodore W. Rosenak, Esq. for John Adams, Simon Adler, Alfred
Avery, Dene Orndorf Collins, Shixet=- Shirley Denes,
C. William Ford, Mary Fritze, Joseph Bradford Giordano,
George Hochschwender, John Schweiger, Emery Sims, Dan Ward,
George Wood; Barbara Kacir, Esq. for Albuquerque Greenhouse,Ltd.,
Apopka Greenhouse, Ltd., Atlanta Greenhouse, Ldd.,Atlantic
Flowerland, Inc., BayMist Greenhouse, Ltd.,Birmingham Greenhouse,
Ltd., Boston Greenhouse, Ltd., Buccaneer Greenhouse, Ltd.,
Buffalo Greenhouse, Ltd., California Flowerland, Ltd.,
California Flowerland '79, Cincinnati Greenhouse, Ltd.,
Cleveland Greenhouse, Ltd., Datis American Flowerland, Inc.,
Delta Greenhouse, Ltd., Denver Greenhouse, Ltd., Flowetland
Parnters 100, Ltd.,Flowetland Partners Equipment Leasing "A"
thru "E", Garden City Greenhouse, Ltd.,Gulfstream Flowerland,Inc.,

‘lHartford Greenhouse, Ltd.,: IFlinois -Flowerland'''79, Illinois
Greenhouse, Ltd., Indianapolis Greenhouse, Ltd., Kansas City
Greenhouse, Ltd., Las Vegas Greenhouse, Ltd.,Lone Star
Greenhouse, Ltd., Los Angeles Greenhouse, Ltd.,Mark Twain
Greenhouse, Ltd., Memphis Greenhouse, Ltd., Michigan Flowerland'79
Moflow Greenhouse, Ltd., Oklahoma City Greenhouse, Ltd.,
Pacific Flowerland Partners, Ltd., Palm Beach Flowerland, Inc.,
Phoenix Greenhouse, Ltd., Pittsburgh Greenhouse, Ltd.,
Part Baltimore Greenhouse, Ltd.,Shenandoah Greenhouse, Ltd.,
Tennessee Flowerland '79, Twin Cities Greenhouse, Ltd.,
Borinquen #34 Foliage, Inc., California Flowerland, Inc.,
Caribe Foliage Co., CF Partnerhsip, Farm Mgmt, Inc.,
Flowerland Generak, Inc, Flowerland Services, Inc., Greenhouse, Ltd
Pilken Farm Joint Venture and Sunspray, Inc. (eaf)

 

 

 
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DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

LOCKET mo. 483 -- P.3

 

 

Pileadine Description

 

81/10/02 7 RESPONSE/MEMORANDUM -- Defts. Advest, Inc. and Irell &
Manella -- w/cert. of svc. (emh)

81/10/02] 8 RESPONSE/BRIEF -- Deft. PRICE Waterhouse -- w/cert. of
service. (emh )

81/10/02 , APPEARANCE -- Dennis K. Bromley, Esq. for Arthur Andersen & Co.

81/10/02 REQUEST FOR EXTENSION OF TIME -- Deft. Stiller, Schwartz §
Kaswell, P.C., GRANTED to & includ. October 23, 1981( emh)

(TO STILLER, SCHWARTZ & KASWELL ONLY.)

81/10/05 APPEARANCE -- Robert E. Schaberg, Esq. for Magdy Shebbein

Stiller, Schwartz & Kaswell ZaxxHMaxxnxykwMt represented

by Michael Nussbaum (rew)

81/10/04 RESPONSE/S (to Motions of Meyer Heller and Robert M. Adler )

~- Bronson, Bronson & McKinnon, Thomas B. Swartz and

Thomas Byrne Swartz, P.C. -- w/Exhibits and cert. of svc.
(emh )

81/10/05 RESPONSE -~ Pltf. Robert C. Hudson, et al. -- w/Exhibit and
cert. of svc. (emh )

81/20/05 APPEARANCE -- Robert A. Dean, Esq. for D. William Sutherland;
XJK Thomas E. Krug; Thomas Calpin; Edward R.
Sokolski; James M. Heinike; Irving M. Shuman;
Gordon R. Gross described as Individual Investors
with limited partnership interests

81/10/05 RESPONSE/BRIEF ~~ Deft. Brause, Lowenstein & Hirsch --

w/cert. of svc. (emh )

81/10/05 RESPONSE/BRIEF (to Motions of Meyer Heller §& Robert M,

Adler) -- w/cert. of svc.--temb} filed by May, Zima & Co. (emh)

81/10/05 RESPONSE/BRIEF --— Robert A. Baker —-— w/Exhibit and
cert. of svc. (emh )

81/10/05 RESPONSE/BRIEF ~- The Securities & Exchange Commission
w/cert. of svc. (emh)

81/10/06 RESPONSE -- Deft. Deloitte Haskins & Sells -- w/cert.
of svc. (emh)

81/10/07 RESPONSE -- Deft. Cherry, Bakaert & Holland --~ w/cert.
of svc. (emh)

 

 

 
DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

P.4

 

 

Pleading Description

81/10/08 | SUPPLEMENTAL CERT. OF SERVICE (Pleading No. 11) -- Robert C.
Hudson, et al., and Bernstein, Seawell & Kove (emh)

81/10/08 SUPPLEMENTAL CERT. OF SVC. (Pleading No. 10) -- Bronson, Bronson
i & McKinnon, Thomas B. Swartz & Thomas B. Swartz, Inc., P.C. (emh)

81/10/08: APPEARANCE -- Thomas Y. Coleman for California First Bank (an

interested party in A-1) (emh)

81/10/08 18 RESPONSE -- Defendants Birr Wilson & Co.; First Affiliated

Securities and Independent Financial Planners Corp. --

w/cert. of service (cds)

81/10/08 19 {| LETTER (signed by Linda S. Gillespie) --— w/copy of Judge
John H. Pratt's Order of October 2, 1981 (cds)

 

81/10/09 | APPEARANCE -- James A. Horland for Limited Partners in A-1l  (emh)

81/10/09: 20 RESPONSE -- Arthur Andersen & Co. -- w/cert. of

. of sve. (emh)

81/10/13 | SUPPLEMENTAL CERT. OF SVC. (Pleading No. 13) -- Deft. May, Zima

& Co. (emh)

81/10/14 Letter Withdrawing Thomas Y. Coleman's Notice of Appearance (emh)

81/10/16 21 RESPONSE -— Deft. Advest, Inc. and Irell & Manella --
w/fcert. of svc. (emh )

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81/10/22) 22 MOTION TO STAY HEARING —- Rohert M. Adler -- w/Exhibit and

i

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cert. of svc. (emh)
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81/10/23, 23 RESPONSE --Stiller, Schwartz & Kaswell, P.C. and Stiller,
Adler & Schwartz -- w/cert. of service (cds)

81/10/30 | SUPPLEMENTAL CERT. OF SVC. (Pleading No. 12) -- Brause,
Lowenstein & Hirsch  (emh)

81/10/30 24 REPLY --— Robert M. Adler -- w/cert. of svc. (emh)
81/11/04 AMENDED AFFIDAVIT OF SVC. TO PLDG. NO. 1 AND AFFIRMATION
OF SVC. BY MAIL ~- Deft. Meyer Heller. (eaf)

81/11/03. 25 SUPPLEMENTAL MEMORANDUM, EXHIBIT, CERT. OF SVC. --
pitfs. Hudson, et al. (eaf)

81/11/09: | SUPPLEMENTAL PROOF OF SvC. TO PLDG. NO. 25 -- Pltfs. Hudson,etal.(ea

 

81/11/12 26 © RESPONSE -- Defts. Adams; Adler; Avery; Collins; Denes;
Ford; Fritze; Giordano; Hochschwender; King; Schweiger;
Sims; Tobey; Vikery; Ward; and Wood -- w/cert. of
service (emh)
81/11/16: 27 ‘RESPONSE, BRIEF, CERT. OF SVC. ~-- SEC. (eaf )
(to Pldg. No. 1)

 
SPML Poem 1A
DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
“oCKET no. 483 P.5

Pleading Description

 

CERT. OF SVC. (to Pldq. No. 1) -- Special

81/11/16 RESPONSE,
(eaf )

Agent Robert A. Baker.

81/11/17 MEMORANDUM, CERT. OF SVC. (to Pldg. No. 1) -- Defts.

Advest, Inc. and Irell & Manella. (eaf)

81/11/18 SUPPLEMENTAL PROOF OB SVC. to pldg. no. 28 -- Special Agent
Robert A. Baker

81/11/18 ope eReet Re BAS ton, chBt£) or sve. (Re: Pldq. No. 1) --

Pitfs. Hudson, et al. (eaf )

|9-/3.0-34---- REPLY- BREEF---- Movant-Meyer-Hetter-w/certs of sve7——tts)

REPLY BRIEF -- Movant Meyer Heller | (as)
: ds

81/12/10
w/cert. of svc.

82/01/22 HEARING ORDER: Setting Motion to transfer action to

D. D.C. for Panel Hearing on February 25, 1982 in Wash.,D.C. (emh)

82/02/12) WITHDRAWAL OF MOTION (Pleading No. 5) -- Deft. Robert M.

Adler -- w/cert. of svc. (emh)

82/02/17 JOINDER OF WITHDRAWAL OF MOTION (Adler's Motion)
Stiller, Adler & Schwartz & Stiller, Schwartz & Kaswell

-- w/eert. of svc. (emh)

WAIVER OF ORAL ARGUMENT -- ALL PARTIES WAIVED
DRDER DENYING TRANSFER -- Notified involved judges, clerks
and counsel (cds)

(ds)

 

 

 

 

 
JPML Form 1
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Revised: 8/78
DOCKET NO. 483 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGAT ION

 

 

 

SUMMARY OF LITIGATION
Hearing Dates Orders Trans feree

 

 

Dates Filed Type Citation District Name of Judge Assigned From

 

 

 

March 5, 1982 MO

 

 

 

Special Transferee Information

 

DATE CLOSED: March 5, 1982

 
LISTING OF INVOLVED ACTIONS

JPML FORM 1 | :
DOCKET NO. 483 -- IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGATION

 

 

Intra-
Office
Number

Caption

District
and
Judge

Civil
Action
Number

Transfer
Date

Docket
Number

TransfereaDate of

Dismissal
or Remand

 

 

Securities and Exchange Commission
v. California Flowerland, Ltd., et
al.

Securities and Exchange Commission
v. Edward H. Heller, et al.

Robert C. Hudson, et al. v. Capital
Management International, Inc., et
al.

JRobert A. Baker v. Robert M. Adler,

et al.

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ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

483 --

IN RE CALIFORNIA FLOWERLAND, ET AL. SECURITIES LITIGATION

 

 

 

SECURITIES AND EXCHANGE COMMISSION
(A-1 and A-2)

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Office of the General Counsel
Securities and Exchange Commission
Washington, D. C. 20549

 

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JPML FORM 4A -- Continuation
Panel Attorney Service List -- p. 2 -

DOCKET NO. _ 483 -- IN RE CALIFORNIA FLOWERLAND ET az SECURITIES LITIGATION

 

 

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Nussbaum, Owen & Webster
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we 3 ISLAND FOLIAGE, INC. (No Appearance Received

Michael Puder Harris, Esq.

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North Palm Beach, Florida 33408

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AVERY, DENE ORNDORF COLLINS, SHIRLEY
DENES, C. WILLIAM FORD, MARY

FRITZE, JOSEPH BRADFORD GIORDANO,
GEORGE HOCHSCHWENDER, JOHN

SCHWEIGER, EMERY SIMS, DAN WARD, MAGDY_SHEBBEIN
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~ 167 Fell Street
San Francisco, Calif. 94102

 

 

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Archer, Rosenak & Hanson
Hatlidie Building

130 Sutter Street

San Francisco, Calif. 94104

 

 

 
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* . JPME FORM 4A -- Continuation

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DOCKET NO. 483

 

Panel Attorney Service List ~- p. 3

     

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-~- IN RE CALIFORNIA FLOWERLAND, ET AL. SECURITIES LITIGATION

 

FLOWERLAND ENTITIES REPRESENTED BY

 

SPECIAI, AGENT ROBERT A BAKER (A-4)

 

AND NAMED AS DEFENDANTS IN OTHER ACTIONS

ALBUQUERQUE GREENHOUSE, LTD.

APOPKA GREENHOUSE, LTD.

ATLANTA GREENHOUSE, LTD.

ATLANTIC FLOWERLAND, INC.

BAY MIST GREENHOUSE, LTD.

BIRMINGHAM GREENHOUSE, LTD.

BOSTON GREENHOUSE, LTD.

BUCCANEER GREENHOUSE, LTD.

BUFFALO GREENHOUSE, LTD.

CALIFORNIA FLOWERLAND, LTD.

CINCINNATI GREENHOUSE, LTD.

CLEVELAND GREENHOUSE, LTD.

DATIS AMERICAN FLOWERLAND,

CALIFORNIA FLOWERLAND *79

DELTA GREENHOUSE, LTD.

DENVER GREENOUSE, LTD.

FLOWERLAND PARTNERS 100, LTD.

FLOWERLAND PARTNERS EQUIPMENT LEASING "A"
THRU "E", LTD

GARDEN CITY GREENHOUSE, LTD

GULFSTREAM FLOWERLAND, INC.

HARTFORD GREENHOUSE, LTD.

ILLINOIS FLOWERLAND '79

ILLINOIS GREENHOUSE, LTD.

INDIANAPOLIS GREENHOUSE, LTD.

KANSAS CITY GREENHOUSE, LTD.

LAS VEGAS GREENHOUSE, LTD.

Barbara Kacir, Esquire

Jones, Day, Reavis & Pogue

1736 Eye Street, N.W.

Washington, D. C. 20006

INC.

LONE STAR GREENHOUSE, LTD.

LOS ANGELES GREENHOUSE, LTD.
MARK TWAIN GREENHOUSE, LTD.
MEMPHIS GREENHOUSE, LTD.
MICHIGAN FLOWERLAND '79
MOFLOW GREENHOUSE, LTD.

OKLAHOMA CITY GREENHOUSE, LTD.
PACIFIC FLOWERLAND PARTNERS, LTD.
PALM BEACH FLOWERLAND, INC.

; PHOENIX GREENHOUSE, LTD.

! PITTSBURGH GREENHOUSE, LTD.

| PORT BALTIMORE GREENHOUSE, LTD.

'‘ SHENANDOAH GREENHOUSE, LTD.

i TENNESSEE FLOWERLAND '79

| TWIN CITIES GREENHOUSE, LTD.

| BORINQUEN FOLIAGE, INC.

{| CALIFORNIA FLOWERLAND, INC.
; CARIBE FOLIAGE COMPANY

‘CF PARTNERSHIP
FARM MANAGEMENT,
FLOWERLAND GENERAL,
FLOWERLAND SERVICES,
GREENHOUSE, LTD.
PILKEN FARM JOINT VENTURE
SUNSPRAY, INC.

 

INC.
INC.
INC.

 

 

 
JPML FORM 4A -- Continuation

Panel Attorney Service List -- p. 4

DOCKET NO. 483

IN RE CALIFORNIA FLOWERLAND, ET AL. SECURITIES LITIGATION

 

 

 

 

UNABLE TO DETERMINE COUNSEL OR
ADDRESS FOR THE FOLLOWING
DEFENDANTS

BILL TEW

JAN MORRISH

WAYNE LACEY

AL LESPERANCE

TOM SYLVIA

EDWARD H. HELLER

CAPITAL MANAGEMENT

AMERICAN FLOWERLAND,

FIN-SERVE, B.V.

FIN-SERVE, Inc. .

FLORIDA FLOWERLAND, INC.

ESTATES DEVELOPMENTS OF DELAWARE,

AGRI-BUSINESS MANAGEMENT, INC.

INTERNATIONAL FLOWER SERVICES,
INC.

FLOWERLAND INTERNATIONAL,

ESTATES SECURITIES, INC.

MISSISSIPPI FLOWERLAND'79

TEXAS FLOWERLAND '79

STEVEN MEDEARIS

JOHN BODETTE

FRANK RAMOS

STEVE HOLMES

LARRY HAGEN

DONALD LEWIS

PETER KNUDTZON

FRED LYNCH

RACHEL CAPLAN

ENGEL ADAMS

XAVIER J. WAHNER

INC.

INC

IN.

 

DON SEDAM

JOHN BONO

EMIL HELBLING

ESTATE OF ALBERT MACHEK
ANGUS VALENTINE

BARRY KANOWSKI

WERNER DESCHEPPER

TONY RYDING"

MIKE PUDLO

HARRY FRAVERT

COR NIJSSEN

J. J, NIEHE

JEFF SMITH

CARL ZARCONE

LORETTA PREWITT

STEVE WEXEL

CARL TRACY

TOM GALLAGHER

CHARLES TAYLOR

ALAN ADAMS

FRANK MILLER

FIRST FLORIDA SECURITIES
ESTATE OF TOBERT WHITEHEAD, ESQ.
SUSAN CHANDLER

CLARIDEN BANK
JOHN KING

ANDREW REUTER

D. WILLIAM SUTHERLAND/ THOMAS E. KRUG
THOMAS CALPIN/ EDWARD R. SOKOLSKI/ JAMES
M. HEINIKE/ IRVING M. SHUMAN/ GORDON GROSS
Individual Investors with Limited
Partnership Interest
Robert A. Dean, Esq.
Gross, Shuman, Brizdle,
& Gilfillan, P.c.
2600 Main Place Tower
Buffalo, New York 14202

Laub

 
 

 

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JPML FORM 4A -- Continuation

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Panel

Attorney Service List -- p.

 

DOCKET NO.

 

 

 

Limited Partners in A-l

 

EMERSON ALLSWORTH, ET AL.
VICTOR F. BEUNZA

BETTE D. BEUNZA

WILLIAM H. BEVIS

EVERETT G. CARROLL

JACK E. CARROLL

LARRY G. CARROLL

PAUL L. CHELL

COL. HARRY J. DAVIS, ET AL.
JAMES D, GOODLOE

FRANK GORY

LESLIE L. GRANT

W. B. GRETE

JAMES E. HALLEY, ET AL.
PAUL S. HEATON

DAVID C. HILLMAN, M.D.
PAUL R. HOOD, ET AL.
HARVEY N. HOP

WHIPPLE VAN NESS JONES,
MARTHA D. KLEIN

ROBERT S. LAFFERTY, JR.
GREGORY D. LEHN, ET AL.
WILLIAM J. LYNCH

T. RUSSELL MCKAY,ET AL.
JOSEPH S. MENSCH, M.D.,
HARVEY R. NEVINS, ET AL.
RAYMOND B. NEWMAN
BEVILLE S. OUTLAW, JR.
ROBERT A. PAPP, ET AL.
RICHARD D. POPE, JR.,
JOSE M. RABADE, ET AL.
DANIEL ROBERTS, M.D.
ROBERT P. ROONEY, ET AL.
HERMAN SACHS

SYLVAN H. SARASOHN, M.D.
OSBEY L. SAYLOR, M.D.

FRED C. SCHOLLMEYER, ET AL,
GEORGE L. VERGARA, M.D.
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Miami, Florida

JR.

ET AL.

33131

 

ET AL.

 

 
   

JPML FORM 3

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 483 -- IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGATION

 

Name of Par Named as Par in Following Actions

-

California Flowerland Ltd.

yo Flowerland '79
|

lifornia Flowerland,

Ed dad H. Heller

co
y ¢

Cc. William Ford

Capital Management
ternational Inc.

American Flowerland,

~

Is d Foliage, Inc.

Fin-Serve, B.V.
pe Inc.

 

 
VCrle Forlag. bre.

Bees Flowerland, Ine

Estates Developments
‘of Delaware, Inc.

Agri-Business
/ Management, Inc.

|

*

International Flower
7 Inc.

Flowerland International
[ Inc.

/Ereenhouse, Ltd.

_Flowerland General,

“ Ine.

Sywmspray Flower
Association, Inc.

Flowerland Services,
Inc.

Estates Securities, Inc.

rm Management, Inc.

, Bee,

 
 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 483 --

Name of Par Named as Par

Buccaneer Greenhouse, Ltd.
Yo, Ltd.

rden City Greenhouse, Ltd.

ve

rtford Greenhouse, Ltd.

llinois Greenhouse, Ltd.

—

a Greenhouse, Ltd.

Memphie Greenhouse, Ltd.

Moflow_Greenhouse, Ltd.

a

Port Baltimore Greenhouse,
ta.

Albuquerque Greenhouse, Ltd.

ae Greenhouse, Ltd.

IN RE CALIFORNIA FLOWERLAND, ET AL.,

SECURITIES LITIGATION

in Following Actions

 

 
 

Va Greenhouse, Ltd.

Birmingham Greenhouse,
J

fo Greenhouse, Ltd.
Y Greenhouse, Ltd.

Vegas Greenhouse, Ltd.

Log’ Angeles Greenhouse,
Ltd.
a Greenhouse, Ltd.

nix Greenhouse, Ltd.

Boston Greenhouse, Ltd.

ffalo Greenhouse, Ltd.

Kansas_City Greenhouse,

 

 

 
 

JPML FORM 3

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 483 --— IN RE CALIFORNIA FLOWERLAND,

Name of Par Named as Par

_ Greenhouse, Ltd.

Cincinnati Greenhouse, Ltd.

ndianapolis Greenhouse,
Ltd.

a City Greenhouse,
d.

Twin Cities Greenhouse, Ltd

Pittsburgh Greenhouse, Ltd.

Tllinois Flowerland '79

Michigan Flowerland '79

Mississippi Flowerland '79

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of
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Tennessee Flowerland '79

vo

Texas Flowerland '79
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ET AL., SECURITIES LITIGATION

in Following Actions

 

 
FYowerland Partners
Equipment Leasing, Ltd.
A thaw E

Atlantic Flowerland, Inc.

Datis American Flowerland
nec.

GuYfstream Flowerland,
Inc.

Paly Beach Flowerland,
nec.

Flowerland Partners 100,

Yo

P3fific Flowerland
Partners, Ltd.
Apopka Greenhouse,

Alfred J. Avery

,
Po.
wv

John Schweiger:

is

Jonathan Tobey

a

 
 

-' JPML FORM 3

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 483 __ IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGATION

Name of Par

Simon Adler

gdy Shebbein

Dene Orndorf o“+# eo

a

Le
Jan Morrish

a Lacey

Al Lesperance

iL
Tom Sylvia

“

Wallace Vickery
f

/

ie
Joseph Bradford Giordano

Steven Medearis

Named as Par in Following Actions

 

 
Don Sedam

il Helbling

George Hochschwender

/
f
f

Estate of Albert Machek

“
a

4

John Adams

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£ oes

Shirley Denes
formerly Shirley Hudson
VY per telecom w/dist. ct.)

George Wood

Angus Valentine

sv

Barry Kanowski

 
  
   

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p. 9

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET No, 483 -- IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGATION

Name of Par Named as Par in Following Actions

Werner Deschepper

Tony tyding

Emery Sims

Mike ,Pudilo
—

a

“

o

f
é

Harry .Fravert

Pa

an

u’

Dan Ward
f

Cor Nijssen

J. J. Niehe

uo

John King

Jeff Smith

a

Le

Carl Zarcone

 
Loretta Prewitt

wo

Steve Wexel
Carl Tracy

Tom Gallagher

Charles Taylor
Alan Adams
Frank Miller

John Bodette

“

Frank Ramos

a

a

a

Steve Holmes

fo
’

ry Hagen

 
 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET No, 483. -- IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGATION

Name of Part

Donald Lewis

yi

feetex Knudtzon

é

ed Lynch

Rachel Caplan

fo
pe Adams\

Ropert Long

ie

Brause, Lowenstein &
Hirsch

/vetottte;—Haskins. &

Ss

¥

thur Andersen & Co.

May, Zima & Co.

%avier J. Wahner

“4.
fof
ff

Named as Par in Following Actions

 
 

wnce Waterhouse & Co.

f

/

A;
exander Grant + (¢

Cherry, Bekaert &

prortana

Stiller, Adler &
- Schwartz

bert Adler

/

Jackson Morris

Estate of Tobert
itehead Esq.

Bronson, Bronson &
/ McKinnon
ds

est, Inc.

First Florida Securities
a

First Affiliated
securities

 

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wo we JPML FORM 3
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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 483 --IN RE CALIFORNIA FLOWERLAND, ET AL., SECURITIES LITIGATION

Name of Part Named as Par in Following Actions
Birr, Wilson & Co.

fo

if

Independent Financial
/ Planners

V

Andrew Reuter

Meyer C. Heller

f

V

Susan Chandler

A“

Clariden Bank

Stiller, Schwartz &
Kaswell

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v “a f
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Kafe oe ae

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